     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 1 of 34



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS



UNITED STATES,                   )
                                 )     CRIMINAL ACTION NO.
                                 )     10-10388-DPW
          v.                     )
                                 )
JAMES C. FIELDS,                 )
                                 )
                 Defendant.      )


                              MEMORANDUM
                           January 19, 2016

                              I. BACKGROUND
     James Fields was CFO of LocatePlus, a business providing

online access to public records and other information for a fee.

The government charged that Fields, in conspiracy with his

codefendant LocatePlus CEO Jon Latorella, sought to inflate the

stock price of LocatePlus artificially by deceiving the public

about the financial health of the company.       He also was said to

divert company funds to his own uses.

     The scheme involved inflating LocatePlus receivables by

recording debt from a fake company called Andover Secure

Resources and by recording inflated revenues from a fake

contract with a fake company called Omni Data.        The Omni Data

fraud was funded in part by a public offering of stock in a

company called Paradigm Tactical Products, which involved false

SEC filings and false public statements.
       Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 2 of 34




       A jury found Fields guilty of conspiring to commit

securities fraud (Count 1), and engaging in or aiding and

abetting:    securities fraud (Count 2), material omissions and

false statements by a corporate officer to an accountant (Counts

3-10), false statements in required SEC filings (Counts 11-19 &

27), wrongful certification by a corporate officer (Counts 20-

26), aggravated identity theft (Count 28), and a monetary

transaction in property derived from unlawful activity (Count

29).

       In connection with sentencing, I confronted an array of

post-conviction motions:      a motion to dismiss based on due

process violations (Dkt. No. 351), a renewed motion for judgment

of acquittal (Dkt. No. 354), and a motion for a new trial (Dkt.

No. 356).    I informed the parties orally that I was denying the

motions except to the extent of granting a judgment of acquittal

regarding Count 28, the aggravated identity theft charge.            I

promised that a fully reasoned written opinion regarding the

issues would follow.      This is that opinion.

                          II. MOTION TO DISMISS

A.     Prosecutorial Misconduct

       Fields alleged that misconduct by AUSA Victor Wild led to a

violation of his due process rights.
                                     2
        Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 3 of 34



        One set of allegations involved Wild’s involvement with

penny-stock company Evermedia.        Wild served on the Board of

Evermedia, which retained Blake Godbout and Geoffrey Chalmers as

counsel.     Godbout and Chalmers, in turn, served as counsel to

LocatePlus in civil litigation against Fields.           In addition to

conflict of interest problems, Fields’ attorney Barry Pollack

asserts he received indications from Godbout in April 2009 that

Wild had disclosed to Godbout information about the grand jury

investigation into Fields, in violation of Fed. R. Crim. P.

6(e).    Fields also alleges that Wild facilitated violations of

18 U.S.C. § 207 by meeting with Ken Kaiser, who participated in

meetings with the FBI on behalf of LocatePlus after having

recently retired from the agency.         See 18 U.S.C. § 207(c)

(prohibiting a former federal employee from appearing before his

former agency, regarding matters that were pending under his

authority, within a year of leaving federal service).1




1 On July 3, 2009, the day he retired from the FBI, Kaiser became
employed by LocatePlus as a consultant. Over the next year, he
held various positions with that company, in which capacities he
arranged and participated in meetings with FBI personnel. A
misdemeanor information was lodged against Kaiser under 18
U.S.C. § 207(c). United States v. Kaiser, 13-cr-10264,
(D. Mass. Sept. 13, 2013). Kaiser pleaded guilty to the charge,
and on December 17, 2013, Judge Stearns sentenced him to payment
of a $10,000 fine.

                                      3
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 4 of 34



Beginning in May 2007, Fields participated in a series of

proffer sessions with the government, apparently in hopes of

obtaining a plea deal as a cooperating witness.        Fields alleges,

however, that once Pollack confronted Wild about the potential

improprieties discussed above, the government turned its

attention to using co-conspirator Dan O’Riordan, VP of

operations at LocatePlus, as a cooperating witness.         Fields

complains that, despite what was far less actual cooperation by

O’Riordan--a single proffer session in December 2009, years

after Fields began cooperating, that provided little new

information--O’Riordan received a favorable plea arrangement.

     Fields faults Wild for failing to reveal various relevant

details at O’Riordan’s sentencing before Judge Wolf.         For

example, Wild represented to the court that O’Riordan had been

fully cooperative with the government “from the very beginning.”

He failed to disclose, however, that O’Riordan had perjured

himself before the Massachusetts Securities Division in 2006 and

subsequently relocated to Texas.       Wild also failed to reveal the

arguably more extensive cooperation provided by Fields.         As a

result, Fields argues, Judge Wolf sentenced O’Riordan to 6

months of imprisonment, below even the 2 years of imprisonment

recommended by the government.



                                   4
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 5 of 34



     The plea deal offered to Fields shortly before his trial,

meanwhile, required Pollack not to advocate for a sentence of

less than 4 years of imprisonment.      This, Fields says, violated

the spirit, if not the letter, of 18 U.S.C. § 3661 (“No

limitation shall be placed on the information concerning the

background, character, and conduct of a person convicted of an

offense which a court of the United States may receive and

consider for the purpose of imposing an appropriate sentence.”).

     Fields suggests a variety of remedies for the alleged

misconduct, including dismissal of the indictment, dismissal of

the counts on which the government relied most directly on the

testimony of O’Riordan to obtain convictions (Counts 1, 27, and

28), or requiring the government to re-offer its plea deal to

Fields without the limitation on advocacy as to a particular

term of imprisonment.    Fields requested, at the very least, that

I hold a hearing on these matters to determine the appropriate

course.

     I begin by noting that the plea deal offered to Fields did

not violate 18 U.S.C. § 3661; limiting a defendant’s advocacy as

to a specific sentence length is quite different from

withholding information from the court.       Neither did the plea

deal between the government and O’Riordan violate 18 U.S.C. §

201(c)(2).   The improprieties suggested by Fields, even if true,
                                   5
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 6 of 34



do not indicate that the government went so far as in effect to

pay O’Riordan for false testimony, cf. United States v.

Singleton, 165 F.3d 1297, 1302 & n.2 (10th Cir. 1999).

Moreover, a promise of leniency to a cooperating witness does

not violate 18 U.S.C. § 201(c)(2), United States v. Lara, 181

F.3d 183, 197 (1st Cir. 1999).     To the extent the alleged

improprieties raised concerns about the reliability of

O’Riordan’s testimony for purposes of determining guilt or

innocence on the charges against him, Fields had a full and fair

opportunity to cross-examine him at trial and took advantage of

that opportunity.

     At bottom, Fields finds it unfair that O’Riordan received

an attractive cooperation plea agreement while he did not.

Fields attempts to constitutionalize the issue, relying on the

Supreme Court’s opinions in Lafler v. Cooper, 132 S. Ct. 1376

(2012), and its companion case Missouri v. Frye, 132 S. Ct.

1399, 1406 (2012).   Lafler and Frye support a constitutional

dimension to the plea bargaining process because “[t]he Sixth

Amendment requires effective assistance of counsel at critical

stages of a criminal proceeding,” Lafler, 132 S. Ct. at 1385,

and plea bargaining is one such “critical stage,” id. at 1392;

see also id. at 1388 (“criminal justice today is for the most

part a system of pleas, not a system of trials”).
                                   6
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 7 of 34



     The Supreme Court, however, long ago foreclosed the idea

that there is an independent entitlement to a plea offer or plea

bargain, the deprivation of which might be the subject of due

process scrutiny.   See Frye, 132 S. Ct. at 1406 (citing

Weatherford v. Bursey, 429 U.S. 545 (1977)); see also

Weatherford, 429 U.S. at 561 (“[T]here is no constitutional

right to plea bargain; the prosecutor need not do so if he

prefers to go to trial.    It is a novel argument that

constitutional rights are infringed by trying the defendant

rather than accepting his plea of guilty.”).        This makes sense

from a separation of powers perspective.        Having courts

scrutinize these matters would intrude on executive

prosecutorial functions in a way that scrutiny of ineffective

assistance of defense counsel does not--even if the remedy for

ineffective assistance is similar to one of Fields’ suggested

remedies for unfair dealing during plea bargaining.         Cf. Lafler,

132 S. Ct. at 1391 (proper remedy for ineffective assistance in

advising defendant to reject plea was requiring government to

re-offer plea).

     In the final analysis, Fields presented a tale of some

questionable intrigue, but nothing that amounts to a violation

of due process or indicates that he failed to receive a fair

trial.   I do not ignore the generalized allegations of

misbehavior by Wild, which if substantiated with particularity

                                   7
      Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 8 of 34



might be the basis for contempt proceedings, see Fed. R. Crim.

P. 6(e)(7) (specifying contempt as remedy for violations of

grand jury secrecy), or other sanctions.        The alleged conflicts

of interest presented by his involvement with Evermedia, for

acquiescing in Kaiser’s violation of 18 U.S.C. §207(c), or for

his alleged withholding of information at O’Riordan’s sentencing

might, if substantiated, also lead to sanctions.         That said, the

allegations are not sufficiently supported in the record before

me.   The evidence of Wild’s alleged disclosure of grand jury

information references nothing more than the type of generalized

topics of discussion, common and not inappropriate among

representatives of the government and representatives of the

changing cast of characters in fraud investigations who may be

cast alternatively as victims, subjects or targets.          The

question of culpability in Kaiser’s criminal conduct is a matter

for charging decisions by the Department of Justice.          Moreover,

Wild’s alleged omissions at sentencing were of relatively stale

historical information.     Given that O’Riordan’s perjury at the

Massachusetts Securities Division in 2006 substantially predated

the federal grand jury subpoena served on him in September 2009,

at which point it was accurate that he was fully cooperative

with the government, any omission seems relatively de minimis.

      The allegations — even as generalized allegations — were

nevertheless serious enough that I have, as I earlier indicated

                                    8
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 9 of 34



to the parties I would, considered referring the matter to Judge

Wolf, who dealt directly with AUSA Wild in the prosecution of

O’Riordan.   After considering that initiative, I have determined

not to make such a reference formally.1

     More pertinently to the motion presented to me, the alleged

misconduct — even if substantial and fully substantiated — does

not justify upsetting the verdict against Fields in a

prosecution handled by Assistant United States Attorneys other

than Wild, following a trial in which the government provided

ample evidence in support of Fields’ guilt, and where the

government had legitimate (if debatable) reasons for

distinguishing between Fields and O’Riordan.        To the extent

questions remained about the relative culpability of Fields and

O’Riordan, and the extent to which O’Riordan’s sentence properly




1 In making this determination, I have followed a protocol
outlined by Judge Wolf for entertaining claims of prosecutorial
misconduct. See generally United States v. Flemmi, 233 F. Supp
2d 113, 115-19 (D. Mass. 2000). I do not find the allegations
sufficiently supported in evidence establishing a prima facie
case of misconduct on which action by me may be based.
Consequently, I decline to take further action than my
disposition of the defendant’s motions. In particular, I
decline to make a formal reference to Judge Wolf or any other
judicial officer or entity suggesting that there is a prima
facie case in the record before me of independently actionable
misconduct by Wild. This determination, of course, does not
foreclose the defendant or his counsel from further marshalling
a record and continuing to pursue the matter (as the record
suggests they previously have, see Doc. 427-1 at 2 (June 18,
2013 Letter to Attorney Pollack from Department of Justice))
before Judge Wolf or some other responsible person or entity.
                                   9
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 10 of 34



reflects his culpability, I essentially addressed such matters

at sentencing so far as they concern the relative culpability of

Fields.

B.   Brady Violation

     Fields also asserted that the government violated its Brady

obligations by waiting until mid-trial to disclose the notes

taken by agents in the course of witness interviews.         Fields

argued that these notes revealed that Nicholas Bouchard, another

finance department employee at LocatePlus, had an independent

role in the fraud involving Paradigm Tactical Products.          Fields

says he could not raise this issue without risking the

credibility of counsel, however, because attorney Pollack had

argued to the jury in opening that Fields’ culpability was

closer to that of Bouchard than to that of Latorella and

O’Riordan.

     Fields cannot establish that the evidence was material, as

necessary to make out an actionable Brady violation.         Kyles v.

Whitley, 514 U.S. 419, 434 (1995) (question is whether, in the

absence of the undisclosed evidence, trial resulted in “a

verdict worthy of confidence”); Drumgold v. Callahan, 707 F.3d

28, 38-39 (1st Cir. 2013) (“Evidence is material if there is a

‘reasonable probability’ that, had it been disclosed, the result

of the proceeding would have been different.”).         The isolated

additional detail about Bouchard’s role does not detract from

                                   10
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 11 of 34



the evidence establishing Fields’ role in the conspiracy.          To

the extent the information goes to the culpability of Fields

relative to his co-conspirators, it is another consideration

that was weighed at his sentencing, and was timely disclosed for

that purpose.

C.   Proffer Agreement

     Finally, Fields argued that the government improperly

threatened to introduce statements made in his proffer sessions.

The government, however, was permitted to raise the proffer

statements if Fields contradicted them at trial.         Fields cannot

complain that the government raised possible contradictions with

the court; there would be no other way to resolve whether Fields

actually contradicted himself.

     Fields also complains about pre-trial disclosure of the

proffer statements to the court.        The government essentially

argues that Fields opened the door to presentation of his

proffer statements because they were used to support the motions

to sever made by him and Latorella.       In any event, even if the

government technically breached its promises under the proffer

agreement - and I do not believe it did - Fields has not

demonstrated how disclosure of the statements only to the court

affected the integrity of the indictment, the trial, or the

verdict.



                                   11
      Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 12 of 34



                III. MOTION FOR JUDGMENT OF ACQUITTAL

      Fields moved for judgment of acquittal under Fed. R. Crim.

P. 29.   A judgment of acquittal may be entered “only if the

evidence, viewed in the light most favorable to the government,

could not have persuaded any trier of fact of the defendant[‘s]

guilt beyond a reasonable doubt.” United States v. Mubayyid, 658

F.3d 35, 47 (1st Cir.2011).      A trial judge “is not to weigh the

evidence or assess the credibility of witnesses when [he] judges

the merits of a motion for acquittal,” Burks v. United States,

437 U.S. 1, 16 (1978), but must instead “take into account all

evidence, both direct and circumstantial, and resolve

evidentiary conflicts and credibility disputes in favor of the

jury’s verdict.”     United States v. Valerio, 676 F.3d 237, 244

(1st Cir. 2012).

A.    Aggravated Identity Theft

      Count 28 charged Fields with aggravated identity theft, 18

U.S.C. § 1028A(a)(1).     The statute provides that:

      Whoever, during and in relation to [certain enumerated
      felonies, including mail and wire fraud], knowingly
      transfers, possesses, or uses, without lawful authority,
      a means of identification of another person shall, in
      addition to the punishment provided for such felony, be
      sentenced to a term of imprisonment of 2 years.

Id.   Here, the government alleged that Fields used the name,

date of birth, and social security number of a deceased

individual, Timothy Rodden, during and in relation to mail and


                                    12
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 13 of 34



wire fraud, 18 U.S.C. §§ 1341, 1343.      The details of the scheme,

in the light most favorable to the verdict, are as follows.

     Fields and his co-conspirators undertook to employ a public

offering of Paradigm stock to fund the Omni Data fraud.         In

order to avoid SEC reporting requirements, they fabricated a

number of “accredited investors” in order to avail themselves of

a registration exemption available when securities are sold only

to such investors.   One of the fraudulent accredited investors

was a trust formed using Rodden’s identifying information--the

Rodden Family Trust.   Detailed investor information filed with

the NASD in the Spring of 2005 also used Rodden’s identifying

information.   In early June 2005, Fields participated in filing

a fraudulent Form D indicating that Paradigm had enough

accredited investors to qualify for the exemption.        The Form D

itself, however, did not include identifying information about

those accredited investors.    In reliance on these materials, the

NASD cleared Paradigm stock for public quotation in July 2005.

     Fields moved for acquittal on Count 28 on various grounds.

     1.   Timeliness

     Fields first argued that the aggravated identity theft

charge was time-barred.    By virtue of tolling agreements with

the government, all agree that the charge is timely only if the

relevant offense conduct occurred after June 1, 2005.         The

dispute thus centers around whether Fields “used” Rodden’s

                                  13
       Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 14 of 34



identifying information after June 1, 2005.2          Fields argues that,

because the only documents actually bearing Rodden’s identifying

information pre-dated June 1, his “use” of the information also

pre-dated June 1.      The government, however, argues that the

“use” continued after June 1 because (1) the Form D referenced

the fake accredited investors, which implicated the earlier use

of Rodden’s identifying information to create the fake investor

trust; and (2) the NASD continued to rely on the documentation

bearing Rodden’s identifying information until it approved

Paradigm stock for quotation in July 2005.          I find as a matter

of law that Fields used Rodden’s means of identification only

prior to June 1, 2005.

       To “use” means to “put into service.”        Webster’s New

International Dictionary 2523 (3d ed. 1986).          It might also mean

to “apply to advantage” or “to carry out a purpose or action by

means of.”     Id. at 2524.    Even the latter definition does not

necessarily mean, however, that “use” continues until the ends

are achieved.     Consider, for example, the most natural

characterization of “use” of a stolen credit card.           A


2 Itseems clear enough that Fields “possessed” Rodden’s means of
identification after June 1, 2005, and this was “during and in
relation” to mail and wire fraud. The parties appear to agree
that the disputed conduct charged in the indictment focused on
“use.” My instruction to the jury, although indicating that
aggravated identity theft could be achieved by transfer, use,
and possession, similarly focused on “use.”

                                     14
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 15 of 34



perpetrator “uses” the card--and identity theft thus occurs--

when he presents the stolen card or number for payment, not when

the credit card company finishes processing the transaction.

Any number of processes may be triggered by an identity thief’s

use of the identifying information of another, but those third-

party processes do not constitute part of the use itself.

     Similarly, Fields put Rodden’s identifying information into

service when he used the information to create the fraudulent

accredited investor trust, and when he provided Rodden’s

identifying information directly to NASD.       What the NASD did

from there may have been set into motion by Fields, but the

theft had already been perpetrated.      I reject the argument that

the duration of Fields’ use depended on processing time

attributable to the NASD.

     A closer question is the extent to which the reference to

accredited investors in the October 22, 2013 Paradigm Form D may

be deemed a “use” of Rodden’s means of identification.         I

recognize that reference to the accredited investor trust was

only possible by virtue of the underlying use of Rodden’s

identifying information.    In some sense, then, each invocation

of the trust re-deployed Rodden’s identifying information by

incorporation.

     There is no indication, however, that Congress intended to

reach such downstream conduct when it proscribed “use[]” of a

                                  15
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 16 of 34



“means of identification.”     To the contrary, the legislative

history indicates that Congress sought to protect against abuse

of “personal data.”    H.R. Rep. No. 108-528 at 4 (2004) (emphasis

added).   Accordingly, the statute defines “means of

identification” to mean “any name or number that may be used,

alone or in conjunction with any other information, to identify

a specific individual.”     18 U.S.C. § 1028(d)(7) (emphasis

added).   Reference to the accredited investors generally on the

Form D is a means of identifying the trust formed using Rodden’s

identifying information; not a means of specifically identifying

Rodden himself.3

     At the very least, without guidance from the text of the

statute or reliable legislative history, and absent other

countervailing considerations, principles of lenity militate in

favor of a narrower construction of “use.”        See generally United

States v. Jimenez, 507 F.3d 13, 20 (1st Cir. 2007) (discussing

application of rule of lenity in cases of “genuine ambiguity”).

     The government seeks to provide a countervailing

consideration by arguing that “use” of identifying information,


3 Thisis unlike a case in which another’s social security number
or passport are used to obtain a driver’s license or credit card
in the name of that person. There, no downstream application of
the initial identity theft is necessary. The further uses of
the fraudulently obtained license or credit card themselves
independently constitute additional “uses” of another’s “means
of identification.”

                                   16
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 17 of 34



read narrowly, often will not directly coincide with a predicate

offense.   Thus, the government argues, the narrow definition of

“use” leads to absurd results by excluding obvious instances of

aggravated identity theft from the reach of the statute.         Here,

for example, the uses of Rodden’s identity all occurred before

the predicate offense of wire fraud was consummated by the

transmission of the Form D in June 2005.       This argument,

however, is out of focus.

     The government confuses the relevant statute of limitations

question with a question about satisfying a separate substantive

element of aggravated identity theft--namely, that the “use” be

“during and in relation to” the predicate offense.        Even under

the narrow definition of “use,” there is little question that

the uses of Rodden’s identity before June 1, 2005 occurred

“during and in relation to” the wire fraud consummated after

that date.

     As the government observes, the “during and in relation to”

language is “expansive.”    United States v. Mobley, 618 F.3d 539,

549 (6th Cir. 2010) (quoting Smith v. United States, 508 U.S.

223, 237 (1993)).   Avoiding the government’s concern about the

temporal relationship between identity theft and a predicate

offense thus does not require reading “use” broadly to extend

throughout the scheme to defraud.      Rather, even under a narrow

definition of “use,” identity theft may occur “during and in

                                  17
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 18 of 34



relation” to wire fraud if the theft is part of the broader

scheme to defraud and “facilitates or has the potential of

facilitating that predicate felony.”      Mobley, 618 F.3d at 549

(internal quotation and citation omitted).

     Here, NASD’s reliance on the underlying investor list

(including Rodden’s name and DOB) and invocation of the

accredited investors, both of which came after June 1, 2005,

indicate the ways in which the earlier use of Rodden’s

identifying information was a part of and facilitated the scheme

to defraud.   But the actual deployment by the defendant of

Rodden’s identifying information, prior to June 1, 2005, cannot

be bootstrapped to later aspects of the fraud such that the

aggravated identity theft charge becomes timely.

     Thus, as this case reflects, defining the scope of “use”

for purposes of the statute of limitations has little to do with

whether the identity theft bears the necessary temporal

relationship to a predicate offense.      “Use” of another’s

identity may occur “during and in relation to” a predicate

offense.   But, because that “use” occurred so far in the past

while the related scheme to defraud extended over a period of

time, a charge of aggravated identity theft based on the actual

“use” may be stale even if a charge based on the related

predicate offense is not.



                                  18
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 19 of 34



     Judgment of acquittal therefore entered for Fields as to

Count 28 on timeliness grounds.     For fullness of explanation,

however, I will briefly explain my view that Fields was not

entitled to judgment of acquittal based on the other challenges

to his conviction for aggravated identity theft.

     2.   Deprivation of Property

     Fields attacked the predicate mail and wire fraud offenses,

arguing that the government failed to prove a deprivation of

money or property, but rather proved only a deprivation of

intangible rights--a theory of mail and wire fraud precluded by

McNally v. United States, 483 U.S. 350 (1987).        Fields might

have had a winning argument if the government had merely charged

a scheme to obtain approval for the unregistered public offering

of Paradigm securities.    Cf. Cleveland v. United States, 531

U.S. 12 (2000) (fraud to obtain government license does not in

itself constitute necessary deprivation of property).

     The indictment, however, charged a scheme to

     illegally generate profits . . . from the sale of shares
     of Paradigm, by deceiving the SEC and others into
     allowing Paradigm securities to be publicly traded
     without being registered, and then by making false
     statements to the investing public to artificially
     inflate the price and sales volume of those securities.

Indictment ¶ 12.   Defrauding the SEC and the NASD was merely one

step in the scheme to deprive the public of money or property

through the sale of artificially inflated Paradigm stock.         Cf.


                                  19
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 20 of 34



United States v. Christopher, 142 F.3d 46, 54 (1st Cir. 1998)

(“Nothing in the mail and wire fraud statutes requires that the

party deprived of money or property be the same party who is

actually deceived.”).

     Also, contrary to Fields’ suggestion, the government was

not required to show reliance or damages by any particular

investor.     Neder v. United States, 527 U.S. 1, 25 (1999) (“By

prohibiting the ‘scheme to defraud,’ rather than the completed

fraud, the elements of reliance and damage would clearly be

inconsistent with the statutes Congress enacted.”).

     3.      Real Person

     Fields also argued the government failed to show that he

knew the means of identification at issue belonged to another

person.     See Flores-Figueroa v. United States, 556 U.S. 646, 657

(2009) (applying knowledge requirement across all elements of §

1028A(a)(1)).    I am unpersuaded.     Several of the fake trusts

serving as purported “accredited investors” were formed using

the identities of people Fields undoubtedly knew were real--

including his skydiving instructors and an ex-girlfriend.         The

jury could infer that Fields would not have gone to the trouble

of obtaining these real identities if he thought fake ones would

suffice.

     Moreover, Fields used Rodden’s identity liberally--not only

with respect to the Paradigm fraud where the information was

                                  20
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 21 of 34



subject to scrutiny by the SEC and the NASD, but also in opening

bank and brokerage accounts used for stock sales that could have

prompted IRS scrutiny.     The willingness to subject the

identifying information to repeated scrutiny implies Field had

confidence that the information would withstand scrutiny, and

thus supports the inference that he knew the information

belonged to a real person.     Cf. United States v. Valerio, 676

F.3d 237, 244 (1st Cir. 2012).

     A reasonable jury could readily conclude that Fields knew

Rodden was a real person.

B.   Duplicitous Counts

     Fields also sought dismissal of Counts 2 through 19, which

he argued were improperly duplicitous.       “[T]he prohibition

against duplicitous indictments arises primarily out of a

concern that the jury may find a defendant guilty on a count

without having reached a unanimous verdict on the commission of

any particular offense.”     United States v. Valerio, 48 F.3d 58,

63 (1st Cir. 1995).    Although the jury must “unanimously agree

on each element of the crime in order to convict,” it “need not

agree on all the underlying brute facts that make up a

particular element.”     United States v. Verrecchia, 196 F.3d 294,

298-99 (1st Cir. 1999) (internal quotation, citation, and

modification omitted).     As did the parties, I consider

separately the arguments with regard to Count 2 and Counts 3-19.

                                   21
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 22 of 34



     1.   Count 2

     Count 2 charged Fields with securities fraud, and

incorporates the entire factual recitation of the indictment.

Field argues that the incorporation of allegations related to

the Omni Data transactions, Paradigm securities sales, and

Andover Secure Resources debt renders the count improperly

duplicitous.

     The government had a legitimate argument that the

indictment is not duplicitous because what Fields describes as

separate offenses are actually part of a single, overarching

scheme to defraud.   Cf. United States v. Wiles, 102 F.3d 1043,

1062 (10th Cir. 1996) (“charging a single offense of securities

fraud involving a multitude of ways and courses of action as a

result of an ongoing scheme to defraud does not render that

charge duplicitous”), vacated on other grounds by United States

v. Schleibaum, 522 U.S. 945 (1997).

     Regardless, Count 2 was narrowed to cover only the Omni

Data aspects of the fraud, and I gave the jury a unanimity

instruction.   These steps alleviated any concern about duplicity

in the charge.   Because the indictment charged the narrower set

of conduct, the change was at worst a variance.        See United

States v. Mubayyid, 658 F.3d 35, 50 (1st Cir. 2011); United

States v. Celestin, 612 F.3d 14, 25 (1st Cir. 2010); United

States v. Mueffelman, 470 F.3d 33, 38 (1st Cir. 2006).         While in

                                  22
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 23 of 34



light of the evidence, it may have been difficult for Fields to

defend against the narrowed charge, this is insufficient to show

that the variance caused prejudice such that Fields would be

entitled to relief.     Mubayyid, 658 F.3d at 54.

     2.   Counts 3-19

     The argument that Counts 3 through 19 are duplicitous

warrants little attention.     Each count specifies the particular

document alleged to be fraudulent.       That the documents may have

been false or fraudulent in a variety of ways does not make the

respective counts duplicitous.      United States v. Goodwin, No.

03-10197-RGS, 2004 WL 769312, at *3 (D. Mass. Apr. 12, 2004)

(“So long as the jury concludes that the Forms 10-Q were

materially false, and had the required connection to the

purchase or sale of securities, it little matters whether jurors

attribute the falsity to transaction (a), (b), or (c), or all of

them.”); see also id. (“The crucial distinction [in matters of

jury unanimity] is . . . between a fact that is an element of

the crime and one that is ‘but the means’ to the commission of

an element.”) (quoting United States v. Verrecchia, 196 F.3d

294, 299 (1st Cir.1999)).

C.   Wire Fraud/Money Laundering

     Fields also sought acquittal on Count 29, which charged him

with wire fraud and money laundering, 18 U.S.C. § 1957.          Section

1957 prohibits monetary transactions in “property constituting,

                                   23
       Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 24 of 34



or derived from, proceeds obtained from a criminal offense.”

The charge is premised on a January 2006 transfer from the fake

Winn Family Trust to Omni Data in the amount of $600,000, which

was derived from the earlier fraudulent transfer of $650,000

from LocatePlus to the Trust.

       1.   Proceeds

       Fields argues that the $600,000 transfer from the Winn

Trust to Omni Data did not qualify as “proceeds” for purposes of

the statute.     The Supreme Court, in United States v. Santos, 553

U.S. 507 (2008), determined that “proceeds” must mean “profits”

rather than merely “receipts” of criminal activity.           Id. at 511-

14 (plurality op.).4      Fields argues that the $600,000 transfer

from the Winn Trust to Omni Data cannot be considered “profits”

of criminal activity because the $600,000 was eventually paid

back into LocatePlus where it was recorded as revenue.

       Fields is correct that the round-trip revenue recognition

scheme did not generate profits, and thus could not serve as the

predicate criminal activity for money laundering.           But the

government charged wire fraud as the predicate criminal



4 In2009, Congress amended the money laundering statutes so that
“proceeds” would include “gross receipts.” See 18 U.S.C.
§ 1956(c)(9). However, those amendments were not made
retroactive and are thus inapplicable here. See Fraud
Enforcement and Recovery Act of 2009, Pub. L. No. 111-21, 123
Stat. 1617 (2009).

                                     24
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 25 of 34



activity--specifically, the fraudulent transfer of funds from

LocatePlus to the Winn Trust--which delivered $650,000 into a

bank account owned and controlled by Fields.       The subsequent

transfer of $600,000 from the Winn Trust to Omni Data then

constitutes the monetary transaction using criminally-derived

profits.   Although Fields complains that the government has

“split artificially” the revenue recognition scheme, Santos

noted that the government may be able to avoid complications in

establishing the “profits” of overarching criminal activity by

instead charging the “underlying crimes.”       Santos, 553 U.S. at

521 (plurality op.).   It did so satisfactorily here.

     Finally, Fields suggested that the revenue recognition

scheme shows that Fields did not intend to deprive LocatePlus of

money.    But the initial transfer from LocatePlus to the Winn

Trust was no less a scheme “for obtaining money or property by

means of false or fraudulent pretenses,” 18 U.S.C. § 1343, and

even a temporary deprivation of property was sufficient to

constitute the predicate wire fraud.       See United States v.

Males, 459 F.3d 154, 158 (2d Cir. 2006).

     2.    Knowledge

     Fields also argued the government failed to show he knew

about the initial illegal transfer of $650,000 from LocatePlus

to the Winn Trust, and also failed to show his involvement in

the later transfer to Omni Data.       But Fields had opened the bank

                                  25
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 26 of 34



account for the non-existent Winn Trust the day before the

transfer from LocatePlus.     He thus at least would have had to

provide routing information for the account to whoever else

might have wired the money, and he would have known there was no

legitimate purpose for wiring money to a fake trust.         Moreover,

Fields had exclusive control over the accounts for the Winn

Trust and Omni Data, ruling out any possibility that he was

uninvolved in the $600,000 transfer between those accounts.             A

reasonable jury could infer that Fields at least knew about the

initial wire fraud and made the subsequent monetary transaction

using the proceeds of that fraud.

                       IV. MOTION FOR NEW TRIAL

     As an alternative to acquittal or dismissal, Fields sought

a new trial under Fed. R. Crim. P. 33.       I may vacate a judgment

and grant a new trial “if the interest of justice so requires.”

Fed. R. Crim. P. 33(a).     The First Circuit has cautioned that

“[t]he remedy of a new trial must be used sparingly, and only

where a miscarriage of justice would otherwise result.”          United

States v. Conley, 249 F.3d 38, 45 (1st Cir. 2001) (citation

omitted).

A.   Prosecutorial Misconduct

     Fields argued that the alleged misconduct of AUSA Wild--

discussed in Part II.A, above--warrants a new trial at which

O’Riordan is not permitted to testify.       Fields, however, was

                                   26
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 27 of 34



aware of all of the relevant circumstances prior to trial; he

had - and took - a full and fair opportunity to cross-examine

O’Riordan.   Nothing else about the alleged misconduct affected

the trial itself, let alone to an extent that would warrant

granting a new trial.

B.   Improper Evidence

     1.   LocatePlus Stock Price Chart

     Fields sought a new trial based on the allegedly erroneous

admission of a chart of LocatePlus trading activity, which

showed a spike in stock price and lower trading volume between

December 2005 and December 2006.        Fields claims that the chart

was misleading, given that the price spike was attributable to a

reverse stock split rather than any misconduct by Fields or his

co-conspirators.    He relies on United States v. Ferguson, 676

F.3d 260 (2d Cir. 2011), where the Second Circuit found a stock

price chart--admitted to demonstrate the materiality of charged

misconduct by showing a drop in stock price--sufficiently

prejudicial to warrant a new trial.

     In Ferguson, however, the relevant changes in stock price

were likely attributable, at least in part, to misconduct

unrelated to that charged in the indictment.        Id. at 274.

Defendants were thus unable to rebut the implications of the

chart without introducing other highly prejudicial evidence.

And although defendants sought to avoid the problem by

                                   27
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 28 of 34



stipulating to materiality, the government refused.        Id.

     Fields was in no such bind here.      He had a fair opportunity

to explain the price spike.    Cf. United States v. Romano, 859 F.

Supp. 2d 445, 463-64 (E.D.N.Y. 2012) (distinguishing Ferguson

for this reason, among others).     The government, for its part,

actually agrees that the spike was attributable to a reverse

stock split, and merely introduced the chart to show that

LocatePlus stock was continuously traded during the relevant

period.   The government also emphasizes that it was not alleging

a “pump and dump” scheme of LocatePlus stock, such that the

sudden spike would have been relevant.      Consistent with these

representations, the government did not inquire into the spike,

and did not even mention the chart in closing.        Introduction of

the chart thus did not result in prejudice to Fields that would

warrant a new trial.

     2.    Testimony of Randy Jurecka

     Again relying on Ferguson, Fields argued that the testimony

of investor Randy Jurecka was a prejudicial attempt by the

government to “humanize” the prosecution.       Cf. Ferguson, 676

F.3d at 274.   Jurecka, however, was called to show the

materiality of false statements regarding the dealings between

LocatePlus and Omni Data.    Based at least in part on those false

statements, Jurecka made substantial investments in LocatePlus.

The government faced the burden of proving materiality, 17

                                  28
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 29 of 34



C.F.R. § 240.10b-5, because, in contrast to Ferguson, Fields had

refused to stipulate to materiality.       In any event, the

government did not “unfairly emphasize loss.”        Romano, 859 F.

Supp. 2d at 463.    Jurecka may have helped put a human face on

the consequences of the alleged crime, but the government did

not unduly appeal to sympathy by riffing on lost retirement

accounts or college funds.     Cf. Ferguson, 676 F.3d at 274.

Jurecka’s testimony resulted in no miscarriage of justice.

C.   Aiding & Abetting Instruction

     Fields next argued that I gave an inadequate instruction on

“aiding and abetting,” 18 U.S.C. § 2.       He again relies on

Ferguson, but the relevant part of that case dealt with the

trial court’s inadequate explanation of “willfully causing”

liability under 18 U.S.C. § 2(b).        Ferguson, 676 F.3d at 275-76.

My instruction outlined the elements of “aiding and abetting”

liability under 18 U.S.C. § 2(a), which is an alternative way of

establishing accessory liability.        See generally United States

v. Tarr, 589 F.2d 55, 59 (1st Cir. 1978).        There was no need to

provide further instruction distinguishing 18 U.S.C. § 2(b) — an

undertaking which, if anything, might have unnecessarily

confused the jury.    In fact, my instruction largely tracked the

instruction requested by Fields.        There was no error, let alone

one that would warrant a new trial.



                                   29
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 30 of 34



D.   Reliance Instruction

     Fields also claimed error in my refusal to instruct the

jury that reliance was a required element of securities fraud.

Reliance is a requirement in private securities fraud cases,

based on the statutory “loss causation” requirement, 15 U.S.C.A.

§ 78u-4(b)(4), and judicial importation of the standards for

“common-law deceit and misrepresentation actions,” see Dura

Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336, 343 (2005).

     But neither Section 10(b), 15 U.S.C. § 78j(b), nor Rule

10b-5, 17 C.F.R. § 240.10b-5, includes a reliance requirement.

Rather, the statute and rule broadly “prohibit the employment of

manipulative and deceptive devices in connection with the

purchase or sale of securities.”        United States v. Haddy, 134

F.3d 542, 549 (3d Cir. 1998).      The statutory scheme thus

reflects Congressional judgment that the standards for private

securities litigation “are poorly suited to public enforcement

actions.”   S.E.C. v. Tambone, 597 F.3d 436, 447 (1st Cir. 2010).

In the public enforcement context, the aim of preventing

deceptive acts that would have “deleterious effect[s] on the

integrity of the securities market and on investor confidence .

. . obviates the necessity of identification of a specific

victim who acted upon the deception.”        Haddy, 134 F.3d at 550.

Consistent with these considerations, the SEC is not required to

prove reliance when it brings an action under Rule 10b-5.

                                   30
     Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 31 of 34



Tambone, 597 F.3d at 447 n.9.      Neither, I conclude, is the

United States Attorney required to prove reliance in a criminal

prosecution.

     Fields cites United States v. Schlisser, 168 F. App’x 483

(2d Cir. 2006), to support his argument that reliance is a

required element of the offense.        But Schlisser is of little

assistance given that the Second Circuit expressly declined to

reach the issue.    See id. at 487 (“We need not, however, decide

whether actual reliance is a required element for criminal

violations of 10b. . . .”).

     Because reliance is not an element of a criminal securities

fraud prosecution under either § 10(b) or Rule 10(b) thereunder,

there was no error in the instruction, and there is thus no

ground for a new trial.

E.   Juror Misconduct

     Finally, Fields sought leeway to explore potential juror

misconduct.    On November 21, 2012, attorney Pollack received a

notification on the professional networking site LinkedIn that

his profile had been viewed by someone from the company at which

a juror worked.    Pollack has no affiliation with other employees

at the company who might have viewed his profile.         The concern,

however, is that the notification indicated this person had

viewed Pollack’s profile “more than 2 days ago,” and the jury

returned its verdict on November 19, 2012.        Fields seeks to

                                   31
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 32 of 34



subpoena LinkedIn to determine who precisely viewed his profile,

and whether the viewing occurred before the verdict.

     “When a non-frivolous suggestion is made that a jury may be

biased or tainted by some incident, the district court must

undertake an adequate inquiry to determine whether the alleged

incident occurred and if so, whether it was prejudicial.”

United States v. Ortiz-Arrigoitia, 996 F.2d 436, 442 (1st Cir.

1993).   This is so even when the potential misconduct comes to

light after the verdict.    Cf. United States v. Boylan, 898 F.2d

230, 258 (1st Cir. 1990) (“When a colorable claim of jury

misconduct surfaces, the district court has broad discretion to

determine the type of investigation which must be mounted.”).

Going so far as to interview jurors, however, should only occur

when “there is clear, strong, substantial and incontrovertible

evidence that a specific, nonspeculative impropriety has

occurred which could have prejudiced the trial of a defendant.”

United States v. Connolly, 341 F.3d 16, 34 (1st Cir. 2003)

(internal quotation and citation omitted).

     Here, any impropriety is fundamentality speculative,

because even if the viewer was a juror, the notification is not

necessarily inconsistent with the juror having viewed Pollack’s

profile after the verdict was returned.

     Perhaps more importantly, there is no evidence of prejudice

resulting from these activities.       Fields says that Pollack’s

                                  32
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 33 of 34



LinkedIn page included a link to an article he wrote on

securities fraud, which discusses potential trial and jury

strategies.   But at this point, the argument fully enters the

realm of speculation--not only that a juror viewed the profile

before the verdict, but also that he sought out and read the

relevant article (among many listed on Pollack’s profile), and

specifically a part of the article that might have revealed

trial strategies employed in this case, and that such reading

would have made those strategies significantly less effective or

somehow turned the juror against Fields.       Moreover, there is no

indication of jurors searching the internet for extraneous

material on the substance of the case--a subject as to which I

admonished the jury repeatedly over the course of the trial.

     For what it is worth, AUSA Lelling checked his own LinkedIn

profile on November 28, 2012, which reflected that the same

juror had accessed his profile “within the last 30 days.”         This

circumstance suggests as the most plausible explanation

favorable to the defendant that a juror went home after

returning the verdict and decided he or she wanted to know a bit

more about the attorneys with whom he or she had just spent a

significant portion of the last four weeks.

     In the absence of a stronger and non-speculative proffer of

a compelling explanation of the prejudice that could have



                                  33
    Case 1:10-cr-10388-DPW Document 443 Filed 01/19/16 Page 34 of 34



stemmed from viewing those profiles, I declined to sponsor the

requested foray.

                            V. CONCLUSION

     For the reasons set forth more fully above:

     A.   the motion for judgment of acquittal (Dkt. No. 354)

was GRANTED IN PART as to Count 28 (Aggravated Identity Theft),

and the motion for judgment of acquittal was otherwise DENIED;

     B.   the motion to dismiss for due process violations (Dkt.

No. 351) was DENIED; and

     C.   the motion for a new trial (Dkt. No. 356) was DENIED.




                                 /s/ Douglas P. Woodlock______
                                 DOUGLAS P. WOODLOCK
                                 UNITED STATES DISTRICT JUDGE




                                  34
